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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                         )
    In re:                                                               )
                                                                         )    Chapter 11
                                                            1
    HIGHLAND CAPITAL MANAGEMENT, L.P.,                                   )
                                                                         )    Case No. 19-34054 (SGJ)
                                Debtor.                                  )
                                                                         )
                                                                         )
    HIGHLAND CAPITAL MANAGEMENT, L.P.                                    )
                                                                         )
                                Plaintiff,                               )
    vs.                                                                  )    Adv. Pro. No. 21-03003 (SGJ)
                                                                         )
    JAMES D. DONDERO,                                                    )
                                                                         )
                               Defendant.                                )
                                                                         )

                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned
case.

        On May 18, 2021, at my direction and under my supervision, employees of KCC caused
the following documents to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

      •      Debtor’s Objection to Motion to Compel Deposition Testimony of James P. Seery,
             Jr. [Docket No. 37]




                                             (Continued on Next Page)




1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   Declaration of John A. Morris in Support of the Debtor’s Objection to Motion to
       Compel Deposition Testimony of James P. Seery, Jr. [Docket No. 38]


Dated: May 21, 2021
                                         /s/ Esmeralda Aguayo
                                         Esmeralda Aguayo
                                         KCC
                                         222 N Pacific Coast Highway, Suite 300
                                         El Segundo, CA 90245




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                             EXHIBIT A
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                                                                Exhibit A
                                                          Adversary Service List
                                                         Served via Electronic Mail


            Description                     CreditorName                CreditorNoticeName                         Email
                                                                                                  john@bondsellis.com;
                                                                   John Y. Bonds, III, John T.    john.wilson@bondsellis.com;
                                  Bonds Ellis Eppich Schafer       Wilson, IV, Bryan C. Assink,   bryan.assink@bondsellis.com;
 Counsel for James Dondero        Jones LLP                        Clay M. Taylor                 clay.taylor@bondsellis.com
 Financial Advisor to Official                                     Earnestiena Cheng, Daniel H    Earnestiena.Cheng@fticonsulting.com;
 Committee of Unsecured Creditors FTI Consulting                   O'Brien                        Daniel.H.O'Brien@fticonsulting.com
                                                                   Melissa S. Hayward, Zachery Z. MHayward@HaywardFirm.com;
 Counsel for the Debtor              Hayward & Associates PLLC     Annable                        ZAnnable@HaywardFirm.com
 Counsel for UBS Securities LLC                                    Andrew Clubok, Sarah           andrew.clubok@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP          Tomkowiak                      sarah.tomkowiak@lw.com
 Counsel for UBS Securities LLC                                    Asif Attarwala, Kathryn K.     asif.attarwala@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP          George                         Kathryn.George@lw.com
 Counsel for UBS Securities LLC                                    Jeffrey E. Bjork, Kimberly A.  jeff.bjork@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP          Posin                          kim.posin@lw.com
 Counsel for UBS Securities LLC                                                                   Zachary.Proulx@lw.com;
 and UBS AG London Branch            Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                  mclemente@sidley.com;
                                                                   Matthew Clemente, Alyssa       alyssa.russell@sidley.com;
 Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,   ebromagen@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey               dtwomey@sidley.com
                                                                                                  preid@sidley.com;
                                                                   Penny P. Reid, Paige Holden    pmontgomery@sidley.com;
 Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes             crognes@sidley.com
 Counsel for James Dondero           Stinson LLP                   Deborah Deitsch-Perez          deborah.deitschperez@stinson.com




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                             EXHIBIT B
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                                                                           Exhibit B
                                                                     Adversary Service List
                                                                   Served via First Class Mail

              Description                   CreditorName                  CreditorNoticeName                 Address1                 City     State    Zip
                                                                    John Y. Bonds, III, John T.
                                      Bonds Ellis Eppich Schafer    Wilson, IV, Bryan C. Assink,    420 Throckmorton Street,
 Counsel for James Dondero            Jones LLP                     Clay M. Taylor                  Suite 1000                    Fort Worth   TX      76102
 Counsel for UBS Securities LLC and                                 Andrew Clubok, Sarah            555 Eleventh Street, NW,
 UBS AG London Branch                 Latham & Watkins LLP          Tomkowiak                       Suite 1000                    Washington DC        20004
 Counsel for UBS Securities LLC and                                 Asif Attarwala, Kathryn K.      330 North Wabash Avenue,
 UBS AG London Branch                 Latham & Watkins LLP          George                          Ste. 2800                     Chicago      IL      60611
 Counsel for UBS Securities LLC and                                 Jeffrey E. Bjork, Kimberly A.
 UBS AG London Branch                 Latham & Watkins LLP          Posin                           355 S. Grand Ave., Ste. 100   Los Angeles CA       90071
 Counsel for UBS Securities LLC and
 UBS AG London Branch                 Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine   1271 Avenue of the Americas New York       NY      10020
                                                                                                    3102 Oak Lawn Avenue,
 Counsel for James Dondero            Stinson LLP                   Deborah Deitsch-Perez           Suite 777                   Dallas         TX      75219




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